56 F.3d 60NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    Richard Lee CREWS, Plaintiff--Appellant,v.George DEEDS;  Doctor Quinones, Defendants--Appellees.
    No. 95-6219.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  April 20, 1995Decided:  May 25, 1995.
    
      Richard Lee Crews, Appellant Pro Se.  Jill Theresa Bowers, OFFICE OF THE ATTORNEY GENERAL OF VIRGINIA, Richmond, VA, for Appellees.
      Before WIDENER, WILKINSON, and WILKINS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. Sec. 1983 (1988) complaint.  We have reviewed the record and the district court's opinion, and find no reversible error.  Accordingly, we affirm on the reasoning of the district court.  Crews v. Deeds, No. CA-94-1006 (W.D.Va. Jan. 10, 1995).  We deny Appellant's motion to be quarantined.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    